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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
CHRISTOPHER CHANDLER                      )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )                  Case No. 18-cv-02136 (APM)
                                          )
DONALD BERLIN, et al.,                    )
                                          )
      Defendants.                         )
_________________________________________ )

                         MEMORANDUM OPINION AND ORDER

       Before the court are two motions for sanctions filed by Defendants Donald M. Berlin and

certain of his businesses against Plaintiff Christopher Chandler and his counsel. The first seeks

sanctions pursuant to Federal Rule of Civil Procedure 11 on the ground that “the complaint in this

case was filed ‘for [an] improper purpose, such as to harass, cause unnecessary delay, or needlessly

increase the cost of litigation.’” Defs.’ Mem. of P. & A. in Supp. of Their Mot. for Sanctions

Under Fed. R. Civ. P. 11, ECF No. 39-1 [hereinafter Defs.’ Rule 11 Mot.], at 1 (alterations in

original) (quoting Fed. R. Civ. P. 11(b)(1)). The second seeks sanctions pursuant to 28 U.S.C.

§ 1927 and this court’s inherent authority on similar grounds, and the additional ground that

Plaintiff’s counsel allegedly misled the court. See Defs.’ Mem. of P. & A. in Supp. of Their Mot.

for Sanctions Pursuant to 28 U.S.C. § 1927 & This Court’s Inherent Authority, ECF No. 40-1

[hereinafter Defs.’ 1927 Mot.], at 1. For the reasons that follow, the court denies both motions.

                                          I. Background
       A.      Factual Background

       Defendant Donald Berlin is a private investigator who, in February 2003, prepared what

Plaintiff terms a “Pitch” for a client, Robert Eringer. See Mem. Op. & Order, ECF No. 24.
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[hereinafter First Mem. Op.], at 1. According to Plaintiff, the Pitch contains a host of false

assertions, accusing Plaintiff and his brother of engaging in various criminal activities, such as

money laundering and having ties to organized crime in Russia and Russian intelligence. Id. More

than a decade later, in November 2017, after Plaintiff had become active in the public debate

around “Brexit,” Eringer sent a portion of the Pitch to members of the British media, who began

running articles about Plaintiff containing these allegations. Id. at 3. Sometime later, Plaintiff

learned that Berlin was behind the Pitch. See Decl. of Christopher Chandler, ECF No. 22-2, ¶ 10.

       This revelation prompted Plaintiff to send a prelitigation demand letter and a draft copy of

a complaint to Defendants demanding that Berlin (1) sign a letter stating that he was the “source

of the false accusations of money laundering, organized crime, and Russian espionage that have

been made about Christopher Chandler in recent months”; (2) schedule an interview with

Plaintiff’s counsel; (3) “agree to provide an affidavit concerning these matters,” and (4) notify

counsel of any inquiries relating to the matter. See Defs.’ Rule 11 Mot., Ex. 3, ECF No. 39-4

[hereinafter Demand Letter]. Plaintiff’s counsel stated in the letter that if Berlin failed to comply

within 48 hours:

               [W]e will sue you and [Berlin’s businesses, Investigative
               Consultants, Inc. (“ICI”)] in federal court by filing the attached
               complaint . . . . And, we will take all appropriate steps and leverage
               our contacts in the media to mitigate the harm you have unfairly
               caused to our client’s reputation with your false accusations, to put
               your prior clients on notice regarding ICI’s fraudulent business
               model, and to prevent you from defrauding others with fake reports
               in the future.

Id. The “attached complaint” included various allegations involving Berlin’s purported criminal

activity and associations, his writing capabilities, and his wife’s attitudes toward Berlin, in addition

to allegations surrounding Berlin’s alleged defamatory statements. See generally Order, ECF No.

14 [hereinafter Rule 12 Order].

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       Berlin refused to sign the retraction letter on the ground that it required him to refute

allegations made by Eringer, which were beyond the scope of his knowledge. See Reply in Supp.

of Defs.’ Rule 11 Mot. & Defs.’ 1927 Mot., ECF No. 44 [hereinafter Defs.’ Reply], at 9–10. But

he offered an alternative declaration confirming that the public databases he used to produce the

Pitch had “inherent deficits,” and that the information should not have been relied on “except

where confirmed by secondary sources.” Id., Ex. 2, ECF 44-2, ¶ 5. That counteroffer was

evidently unsatisfactory to Plaintiff, and this litigation commenced.

       B.      Procedural Background

       In September 2018, Plaintiff filed this suit against Defendants, asserting two counts of libel

per se. See generally Redacted Compl. & Demand for Jury Trial, ECF No. 20 [hereinafter

Redacted Compl.]. Plaintiff asserted that Defendants were liable for the harm caused by their

publication of the allegedly defamatory material in 2003, as well as the republication of that

material in 2017. See id. ¶¶ 60–88. Shortly after Plaintiff initiated the lawsuit, the court struck

various “immaterial, impertinent, [and] scandalous” allegations in his Complaint pursuant to

Federal Rule of Civil Procedure 12(f), finding that the stricken passages sought “to cast Berlin in

a sinister and pernicious light,” “create a caricature of Berlin as devious and deceitful,” and to

“gratuitously take a swipe at Berlin’s spouse.” Rule 12 Order at 2–4.

       After an initial round of briefing, the court granted summary judgment to Defendants

regarding the 2017 republication claim, holding that Berlin could not have reasonably foreseen the

republication at the time he published the Pitch in 2003. First Mem. Op. at 9. The court did not

enter summary judgment as to the initial 2003 publication because a genuine question of material

fact remained regarding whether the Plaintiff’s claim was time-barred. See id. at 10–11. Following

limited discovery on that issue, the court found that Plaintiff’s claim as to the initial 2003

publication was time-barred and entered summary judgment in Defendants’ favor on that issue.
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See Mem. Op., ECF No. 37 [hereinafter Second Mem. Op.]. Defendants’ two motions for

sanctions followed thereafter.

                                           II. Discussion
        A.      Defendants’ Rule 11 Motion

        “By presenting to the court a pleading, written motion, or other paper,” an attorney or

unrepresented party “certifies that” the filing “is not being presented for any improper purpose,”

and that “the claims, defenses, and other legal contentions are warranted.” Fed. R. Civ. P. 11(b).

“If . . . the court determines that Rule 11(b) has been violated, the court may impose an appropriate

sanction” for the violation. Fed. R. Civ. P. 11(c). “[T]he central purpose of Rule 11 is to deter

baseless filings.” Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 393 (1990). “Courts do not

impose Rule 11 sanctions lightly; such sanctions are an extreme punishment for filing pleadings

that frustrate judicial proceedings, or that are filed to harass another party.” In re Carvalho, 598

B.R. 356, 363 (D.D.C. 2019) (cleaned up).

        Defendants assert that the Complaint was filed for the improper purpose of “blackmail[ing]

the Defendants into, inter alia, signing a false statement proclaiming Mr. Berlin knew that Plaintiff

was not guilty of money laundering, espionage, and other misdeeds.” Defs.’ Rule 11 Mot. at 1–2.

Defendants identify four points that they say evince this improper purpose. First, they point to the

prelitigation demand letter, which they say constitutes “criminal blackmail” and demonstrates that

“Plaintiff and his lawyers’ purpose was to use this Court as leverage, with their inflammatory

complaint as a fulcrum, to further their scheme of intimidation and character assassination against

Mr. Berlin.” See id. at 3–4, 9. Second, they contend that Plaintiff’s service of that letter on Berlin’s

spouse, Kimberley Berlin, at her place of business is “additional evidence that Plaintiff and his

counsel were not seeking a lawful resolution of their claims but rather hoped to scare both

Mr. Berlin and his wife into accepting a resolution on Plaintiff’s terms.” Id. at 5–6, 9. Third, they

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argue that because this court “struck [inappropriate] allegations pursuant to Rule 12(f), they are

sanctionable under Rule 11(b)(1)’s prohibition of filings for an improper purpose.” Id. at 5–6, 8–

9. And fourth, they contend that “Plaintiff’s filing of a non-meritorious complaint evidences that

some purpose other than recovering on a deserving claim was at the heart of this action.” Id. at 9–

10. The court considers each argument in reverse order.

               1.      Plaintiff’s Non-Meritorious Complaint.

       Defendants argue that “the Complaint’s lack of merit . . . demonstrates Plaintiff[’s]

improper purpose” in bringing this action. Id. at 9 (cleaned up). Not so. In particular with respect

to the 2003 publication of the Pitch, the parties vigorously debated whether the District of

Columbia’s discovery rule tolled the statute of limitations regarding the 2003 publication, and

Plaintiff advanced colorable (though ultimately unsuccessful) arguments to this effect. See Second

Mem. Op. at 6–15. Plaintiff’s contentions, which he has taken on appeal, see Not. of Appeal, ECF

No. 42, were a far cry from frivolous. Indeed, Defendants do not even argue as much. See Defs.’

Rule 11 Mot. at 10 (“[W]e do not seek sanctions under Rule 11(b)(2) or (3) for unsupported factual

or legal claims . . . .”). Simply prevailing in an action is no basis to impute improper motives for

the filing of a complaint.

               2.      Allegations Struck Pursuant to Rule 12(f).

       Next, Defendant argues that “[b]ecause the Court struck [the allegations] pursuant to Rule

12(f), they are sanctionable under Rule 11(b)(1)’s prohibition of filings for an improper purpose.”

Id. at 9. However, Rule 11’s safe harbor provision requires that the non-movant be given notice

and 21 days to withdraw the challenged filing before a sanctions motion may be filed, and the

motion “must not be filed” if the challenged paper is withdrawn or “appropriately corrected” within

that timeframe. See Fed. R. Civ. P. 11(c)(2). Defendants did not serve their motion on Plaintiff

until November 2, 2018, well after the court struck the allegations pursuant to Rule 12. See Defs.’
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Rule 11 Mot. at 1 n.1; Rule 12 Order. Accordingly, the allegations were already “appropriately

corrected” by the time Defendants served their motion on Plaintiff, and so Defendants cannot seek

sanctions for these allegations.

               3.      Service of the Prelitigation Demand Letter on Ms. Berlin.

       Next, Defendants take umbrage with Plaintiff’s decision to serve the prelitigation demand

letter on Defendant Berlin’s spouse, Kimberley Berlin, at her place of business. See Defs.’ Rule

11 Mot. at 5–6, 9. According to Ms. Berlin, a licensed social worker, she was seeing a patient in

her Leesburg, Virginia office when the session was interrupted by “incessant banging” on the

office door. Id, Ex. 1, ECF No. 39-2, ¶¶ 3–4. When she opened the door, “a man . . . appeared

from the shadows in a basement area,” handed her the prelitigation demand letter, and told her in

an “extremely aggressive and intimidating” tone to give the papers to her husband, ominously

forecasting that they likely contain “things about him that I am sure you did not know.” Id. ¶¶ 5–

7.

       Defendants argue that this “cruel[] and deliberate[] . . . ambush delivery” was “no mere

messenger delivery, but a despicable effort to intimidate, scare, and embarrass an innocent woman

and disrupt her business.” Defs.’ Rule 11 Mot. at 5–6. However, Plaintiff only served the papers

on Ms. Berlin after unsuccessfully attempting to serve them on Defendants’ place of business and

Berlin’s personal residence. See Pl.’s Opp’n to Defs.’ Mot. for Sanctions, ECF No. 41 [hereinafter

Pl.’s Opp’n], at 10–11; see also id., Decl. of Daniel Watkins, ECF No. 41-4, ¶ 4; id., Decl. of Ise

Tiapula, ECF No. 41-5, ¶¶ 4–5, 7. Furthermore, Ms. Berlin is an officer of Defendant Investigative

Consultants, Inc., see Defs.’ Reply at 8, and Virginia law permits “personal service on any officer,

director, or registered agent of such corporation,” Va. Code § 8.01-299. Though Defendants note

that provision of the Virginia Code applies only to formal legal process, see Defs.’ Reply at 8,

there is no basis for Defendants’ assertion that a prelitigation demand letter should be held to a
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different, more polite standard. See id. (arguing that “Plaintiff has given no reason why delivery

of the letter to Mr. Berlin by Fed Ex or email was insufficient.”). As for the process server’s

allegedly “aggressive and intimidating” behavior, even accepting as true Ms. Berlin’s somewhat

theatrical recount of events, such conduct is not a basis to impute an improper motive to Plaintiff’s

filing of his complaint.

               4.        Plaintiff’s Prelitigation Demand Letter.

       Finally, Defendants point to the prelitigation demand letter itself as evidence of Plaintiff’s

improper purpose in filing the Complaint. They note that the letter included a draft of the

Complaint, including the same allegations which the court later struck pursuant to Rule 12, see

Defs.’ Rule 11 Mot. at 3, and highlight that “[i]f Mr. Berlin did not agree to their demands,

Plaintiff’s counsel threatened not only to file the complaint, but also to ‘leverage [their] contacts

in the media’ to damage or destroy Mr. Berlin’s business by publicizing their scandalous, irrelevant

and baseless allegations to Mr. Berlin’s past and prospective clients,” id. at 4. In Defendants’

view, these threats demonstrate Plaintiff’s and his lawyers’ “obvious motivation to use this Court

as part of a scheme to commit criminal blackmail.” Id. Plaintiff retorts that “sending a pre-

litigation demand letter does not evidence an ‘improper purpose,’ even when the letter airs

grievances, threatens litigation, and predicts the adverse consequences,” and that such letters are

particularly appropriate in defamation cases such as this one in which Defendants’ refusal to

publish a retraction may provide evidence of actual malice. See Pl.’s Opp’n at 8–9. The court

agrees with Plaintiff.

       First, the court cannot conclude that Plaintiff and his counsel filed the Complaint with an

improper purpose simply because they included the draft Complaint along with the prelitigation

demand letter. “[P]relitigation letters airing grievances and threatening litigation if they are not

resolved are commonplace, sometimes with salutary results, and do not suffice to show an
                                                  7
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improper purpose if nonfrivolous litigation is eventually commenced.” Sussman v. Bank of Israel,

56 F.3d 450, 459 (2d Cir. 1995). Although, in this case, the court ultimately concluded that various

allegations in the Complaint were included for improper purposes, see Rule 12 Order, 1 it does not

follow that the Complaint itself was filed for an improper purpose. To the contrary, the fact that

Plaintiff’s Complaint raised non-frivolous claims is strong evidence that it was not filed for

improper purposes. See Lipsig v. Nat’l Student Mktg. Corp., 663 F.3d 178 (D.C. Cir. 1980)

(observing that “the presence of merit in a claim or defense may well negate any notion of bad

faith in its filing”); Townsend v. Holman Consulting Corp., 929 F.2d 1358, 1362 (9th Cir. 1990)

(en banc) (noting that “evidence bearing on frivolousness or non-frivolousness will often be highly

probative of purpose”). 2          Furthermore, the court has already stricken the allegations that

Defendants bemoan, see Rule 12 Order, and so they cannot be sanctioned under the safe harbor

provision of Rule 11. See Fed. R. Civ. P. 11(c)(2). It would amount to an impermissible

workaround of that provision to sanction Plaintiff for including the allegations in an unpublished

draft of his Complaint when the filed allegations themselves cannot be sanctioned.

         That leaves Plaintiff’s counsel’s threats to “take all appropriate steps and leverage our

contacts in the media . . . to put your prior clients on notice regarding ICI’s fraudulent business

model, and to prevent you from defrauding others with fake reports in the future.” Demand Letter.

This, too, is not sanctionable. “Mere warnings by a party of its intention to assert nonfrivolous

claims, with predictions of those claims’ likely public reception, are not improper.” Sussman, 56




1
 Portions of the court’s Rule 12 Order arguably suggest that some of Plaintiff’s motivations for filing the Complaint
may have also been improper, but that was not an issue that was before the court at the time.
2
 Indeed, several circuits have interpreted Rule 11 to prohibit sanctioning a person for filing a complaint that raises
non-frivolous claims, even if “one of [the plaintiff’s] multiple purposes in seeking that relief may have been improper.”
See Sussman, 56 F.3d at 459; see also Townsend, 929 F.2d at 1362; Nat’l Ass’n of Gov’t Emps, Inc. v. Nat’l Fed’n of
Fed. Emps., 844 F.2d 216, 224 (5th Cir. 1988); Burkhart v. Kinsley Bank, 852 F.2d 512, 515 (10th Cir. 1988).

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F.3d at 459. As discussed, Plaintiff asserted at least one colorable claim of defamation, which was

largely premised on the factual assertions regarding Defendants’ business practices outlined in the

Demand Letter. Compare Demand Letter (asserting that “we have concluded that you and your

web of corporate entities doing business as Investigative Consultants, Inc. (“ICI”) have

systematically and deliberately defrauded clients into purchasing worthless background reports

containing fake accusations about targeted individuals”), with Redacted Compl. ¶¶ 2–3, 14, 68

(making similar allegations in the context of Plaintiff’s libel claims). Thus, it was not improper

for Plaintiff to threaten to publicize these allegations and predict their “likely . . . reception” with

Defendants’ clients, particularly given that Plaintiff never directly contacted Defendants’ clients

or otherwise interfered with Defendants’ businesses. Sussman, 56 F.3d at 459; see also Revson v.

Cinque & Cinque, P.C., 221 F.3d 71, 81 (2d Cir. 2000) (reversing the district court’s finding that

counsel’s “threat[] to interfere with the Firm’s other clients provide[d] a basis for sanctions” in

part because counsel never directly contacted the clients (cleaned up)); cf. Bouveng v. NYG Capital

LLC, 175 F. Supp. 3d 280, 324–25 (S.D.N.Y. 2016) (holding that a plaintiff’s counsel’s

“references to potentially embarrassing litigation” in a prelitigation demand letter and email were

not extortionary where they were “part of a larger endeavor to obtain recompense for a perceived

wrong” (cleaned up)).

       Defendants contend that “counsel’s letter is no mere prediction of what the press will do,”

but rather is “an express statement that counsel themselves, on behalf of Plaintiff, will publicize

the facts asserted in the complaint.” Defs.’ Reply at 6. But there is no meaningful legal distinction

between “mere predictions” about the consequences of filing a colorable action, and active

communications with the press, coupled with such predictions. See Revson, 221 F.3d at 80–81

(holding that “[g]iven that at least some of [the plaintiff’s] claims were colorable, [plaintiff’s

counsel’s] threat to make the claims public, and his speaking to a reporter about them, did not
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provide a basis for sanctions” (emphasis added)). Indeed, “unless such measures are needed to

protect the integrity of the judicial system or a criminal defendant’s right to a fair trial, a court’s

steps to deter attorneys from, or to punish them for, speaking to the press have serious First

Amendment implications.” Sussman, 56 F.3d at 459. Accordingly, apart from the stricken

allegations (which the court has already determined are not sanctionable), there was nothing

improper about Plaintiff’s counsel’s “express statement” that they would “publicize the facts

asserted in the complaint.” Defs.’ Reply at 6.

       Therefore, the court denies Defendants’ Motion for Rule 11 Sanctions.

       B.      Defendants’ § 1927 and Inherent Authority Motion

       Defendants separately seek sanctions under 28 U.S.C. § 1927 and the court’s inherent

authority. See generally Defs.’ 1927 Mot. Their arguments largely overlap with their Rule 11

motion, see id. at 2, 8–9, and the court rejects them for the same reasons already discussed.

       Defendants’ motion offers one unique argument for § 1927 sanctions against Plaintiff’s

counsel: that counsel allegedly misled the court in the course of the initial round of summary

judgment briefing. Id. at 4–7. The problem, as Defendants see it, was with Plaintiff’s counsel’s

responses to two of Defendants’ statements of material facts not in dispute, in which Defendants

asserted that Plaintiff was previously aware of two of Eringer’s previous publications that included

allegations derived from the Pitch. See Defs.’ Stmt. of Material Facts, ECF No. 21-8 [hereinafter

Defs.’ SOMF], ¶¶ 12–13. These assertions were relevant to the question of whether Plaintiff’s

claim for libel stemming from the initial 2003 publication of the Pitch was barred by the one-year

statute of limitations. Instead of confirming or denying that Plaintiff was aware of the publications,

however, Plaintiff’s counsel responded that there was “[c]ontroverting [e]vidence,” noting that

neither publication “mention[s] Berlin, Investigative Consultants, Inc. or ICI.”             See Pl.’s

Objections & Responses to Defs.’ Asserted Facts, ECF No. 22 [hereinafter Pl.’s Resp. to Defs.’
                                                  10
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SOMF], at PDF pp. 40–41 ¶¶ 12, 13.

       Based upon these representations, the court initially held that it could not conclude as a

matter of law that Plaintiff’s claim arising from the Defendants’ 2003 publication of the Pitch was

time-barred, because “Plaintiff does not concede” that he “actually knew about any of the [Eringer]

publications in question.” First Mem. Op. at 10. After a “limited phase of discovery” on this issue,

id., Plaintiff confirmed that he was indeed aware of Eringer’s publications, see Pl.’s Resp. to Defs.’

Requests for Admission, ECF No. 32-3, at 1–2, and following a second round of summary

judgment briefing, the court ultimately concluded that Plaintiff’s claim was time-barred, see

Second Mem. Op.

       Defendants now assert that Plaintiff’s counsel’s “evasive and false assertion that there was

controverting evidence” regarding Defendants’ statements of undisputed material fact needlessly

precipitated a second round of summary judgment briefing and caused Defendants to expend an

additional $50,000 to litigate the issue. Defs.’ 1927 Mot. at 4 (cleaned up). Plaintiff’s counsel, on

the other hand, insist that Plaintiff’s “position in his summary judgment briefing was truthful and

clear: Eringer’s previous publications did not identify Defendants.” Pl.’s Opp’n at 3–4. While

Plaintiff’s counsel appear to be mistaken about the form and function of statements of undisputed

material facts, that mistake does not justify sanctions under 28 U.S.C. § 1927.

       A court may assess attorney’s fees against “[a]ny attorney or other person admitted to

conduct cases in any court of the United States or any Territory thereof who so multiplies the

proceedings in any case unreasonably and vexatiously.” 28 U.S.C. § 1927. “While the District of

Columbia has not yet established whether the standard for imposition of sanctions under 28 U.S.C.

§ 1927 should be recklessness or the more stringent bad faith, an attorney’s behavior must be at

least reckless to be sanctionable.” Lima Lucero v. Parkinson Constr. Co., Inc., No. CV 18-515

(RC), 2020 WL 4464497, at *6 (D.D.C. Aug. 4, 2020) (internal quotation marks omitted) (quoting
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LaPrade v. Kidder Peabody & Co., 146 F.3d 899, 905 (D.C. Cir. 1998)). Recklessness in this

context is a “high threshold,” which only encompasses “repeated or singularly egregious”

behavior. United States v. Wallace, 964 F.2d 1214, 1219–20 (D.C. Cir. 1992). A court should not

“use Section 1927 to penalize an attorney who might be guilty of no more than a mistake in

professional judgment” or “even negligent conduct.” Huthnance v. District of Columbia, 793

F. Supp. 2d 177, 181 (D.D.C. 2011) (cleaned up).

       Plaintiff’s counsel’s actions do not rise to the level of reckless. In Plaintiff’s response to

Defendants’ Statement of Material Facts, his counsel did not affirmatively deny that Plaintiff was

aware of Eringer’s previous publications. Indeed, Defendants themselves noted in their reply in

support of their initial motion for summary judgment that “Plaintiff does not dispute that he knew

or should have known of Eringer’s allegedly false claims more than a year before he filed suit.”

Defs.’ Reply in Supp. of Their Mot. to Dismiss or in the Alternative for Summary Judgment, ECF

No. 23, at 22. Rather, counsel simply offered a different, “[c]ontroverting,” fact—that Eringer’s

publications did not mention Berlin or his companies, Pl.’s Resp. to Defs.’ SOMF at PDF pp. 40–

41 ¶¶ 12–13—in support of Plaintiff’s argument that a “plaintiff’s knowledge of wrongdoing on

the part of one defendant does not cause accrual of his action against another, unknown defendant

responsible for the same harm,” see Pl.’s Opp’n at 3–4 (cleaned up).

       Plaintiff’s counsel should have either admitted or refuted Defendants’ factual assertions,

reserving Plaintiff’s separate factual assertions for his own statement of material facts, and his

legal arguments for his brief. See Fed. R. Civ. P. 56(c) (detailing the procedures for responding to

assertions of undisputed material facts); Pitts v. Howard Univ., 111 F. Supp. 3d 9, 13 (D.D.C.

2015) (explaining that “[o]rdinarily, a Statement of Undisputed Material Facts consists of just

that—facts, which are in turn supported by reference to testimony and documentation in the

record,” and that legal “contentions” have no place in such a filing). Their failure to directly
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answer Defendants’ assertions in their haste to advance Plaintiff’s own arguments was misguided.

However, this simple “mistake in professional judgment” does not justify § 1927 sanctions.

Huthnance, 793 F. Supp. 2d at 181. There is no indication that Plaintiff’s counsel otherwise

attempted to unreasonably or vexatiously multiply the proceedings. Indeed, after the court ordered

limited discovery on the issue of Plaintiff’s knowledge of the Eringer publications, Plaintiff’s

counsel responded to Defendants’ requests for admissions within five days of their receipt. See

Pl.’s Opp’n at 4. Thus, sanctions are unwarranted, as counsel’s mistake was neither “singularly

egregious” nor “repeated.” Wallace, 964 F.2d at 1220; cf. Reliance Ins. Co. v. Sweeney Corp.,

Md., 792 F.2d 1137, 1138–39 (D.C. Cir. 1986) (awarding sanctions where counsel had repeatedly

and steadfastly refused—both in the trial court and at several turns on appeal—to identify the

disputed facts that he contended required a trial of the case).

                                            III. Conclusion
       In sum, Defendants have not shown that the Complaint was filed for an improper purpose

or that Plaintiff’s counsel unreasonably or vexatiously multiplied the proceedings. Accordingly,

Defendants’ motions for sanctions, ECF Nos. 39 and 40, are denied.

       This is a final, appealable order.




                                                       ______________________
Dated: September 18, 2020                                     Amit P. Mehta
                                                       United States District Judge




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